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                                                  9
                                                                                   UNITED STATES DISTRICT COURT FOR THE
                                                  10
                                                                                         EASTERN DISTRICT OF CALIFORNIA
                                                  11

                                                  12
                    22525 Pacific Coast Highway




                                                        SUZANNE KISTING-LEUNG and AYESHA                     Case No.
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                                                  13    SMILEY, individually and on behalf of all other
                        Malibu, CA 90265




                                                        similarly situated,                                  CLASS ACTION COMPLAINT
                                                  14
                                                                                  Plaintiffs,                1. BREACH OF THE IMPLIED
                                                  15                                                            COVENANT OF GOOD FAITH AND
                                                                vs.                                             FAIR DEALING;
                                                  16
                                                                                                             2. VIOLATION OF CALIFORNIA UNFAIR
                                                        CIGNA CORPORATION, CIGNA HEALTH
                                                  17                                                            COMPETITION LAW, BUSINESS &
                                                        AND LIFE INSURANCE COMPANY, and
                                                                                                                PROFESSIONS CODE SECTION 17200, et
                                                  18    DOES 1 through 50, inclusive,
                                                                                                                seq.;
                                                                                  Defendant.                 3. INTENTIONAL INTERFERENCE WITH
                                                  19                                                            CONTRACTUAL RELATIONS;
                                                  20                                                         4. UNJUST ENRICHMENT.

                                                  21
                                                                                                             DEMAND FOR JURY TRIAL
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                                1            Plaintiffs Suzanne Kisting-Leung and Ayesha Smiley (“Plaintiffs”), individually and on
                                2   behalf of all others similarly situated (the “Class”), by and through their attorneys, bring this class
                                3   action against Defendants Cigna Corporation and Cigna Health and Life Insurance Company, and
                                4   Does 1-50, inclusive (collectively, “Defendants” or “Cigna”) and allege as follows:
                                5       I.   INTRODUCTION
                                6             1.   This action arises from Cigna’s illegal scheme to systematically, wrongfully, and
                                7   automatically deny its insureds the thorough, individualized physician review of claims guaranteed
                                8   to them by California law and, ultimately, the payments for necessary medical procedures owed to
                                9   them under Cigna’s health insurance policies. Cigna is a major medical insurance company in the
                               10   United States, with approximately 2.1 million members in California. 1 Cigna pledges that the
                               11   company is “committed to improving the health and vitality” of its members. 2 In reality, Cigna
                               12   developed an algorithm known as PXDX that it relies on to enable its doctors to automatically deny
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                               13   payments in batches of hundreds or thousands at a time for treatments that do not match certain pre-
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                               14   set criteria, thereby evading the legally-required individual physician review process.
                               15             2.   Relying on the PXDX system, Cigna’s doctors instantly reject claims on medical
                               16   grounds without ever opening patient files, leaving thousands of patients effectively without
                               17   coverage and with unexpected bills. The scope of this problem is massive. For example, over a
                               18   period of two months in 2022, Cigna doctors denied over 300,000 requests for payments using this
                               19   method, spending an average of just 1.2 seconds “reviewing” each request. 3
                               20             3.   The PXDX system saves Cigna money by allowing it to deny claims it previously
                               21   paid and by eliminating the labor costs associated with paying doctors and other employees for the
                               22   time needed to conduct individualized, manual review for each Cigna insured.
                               23

                               24   1
                                      Based on Cigna’s 18 million members nationwide,
                                    https://www.statista.com/statistics/985102/medical-customers-of-cigna/; California Health Care
                               25   Almanac, https://www.chcf.org/wp-content/uploads/2022/06/HealthInsurersAlmanac2022.pdf
                                    (last accessed on July 24, 2023).
                               26   2
                                      The Cigna Group Company Profile, https://www.cigna.com/about-us/company-profile/ (last
                                    accessed on July 24, 2023).
                               27   3
                                      Patrick Rucker, et al., How Cigna Saves Millions by Having Its Doctors Reject Claims Without
                                    Reading Them, ProPublica, Mar. 25, 2023, https://www.propublica.org/article/cigna-pxdx-
                               28   medical-health-insurance-rejection-claims (last accessed on July 20, 2023).
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                                1            4.   Cigna also utilizes the PXDX system because it knows it will not be held accountable
                                2   for wrongful denials. For instance, Cigna knows that only a tiny minority of policyholders (roughly
                                3   .2%) 4 will appeal denied claims, and the vast majority will either pay out-of-pocket costs or forgo
                                4   the at-issue procedure.
                                5            5.   Plaintiffs and members of the alleged Class had their claims rejected by Cigna using
                                6   the PXDX system. Cigna failed to use reasonable standards in evaluating the individual claims of
                                7   Plaintiffs and Class members and instead allowed its doctors to sign off on the denials in batches.
                                8            6.   By engaging in this misconduct, Cigna breached its fiduciary duties, including its duty
                                9   of good faith and fair dealing, because its conduct serves Cigna’s own economic self-interest and
                               10   elevates Cigna’s interests above the interests of its insureds.
                               11            7.   By bringing this action, Plaintiffs seek to remedy Cigna’s past improper and unlawful
                               12   conduct by recovering damages to which Plaintiffs and the Class are rightfully entitled and enjoin
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                               13   Cigna from continuing to perpetrate its scheme against its California insureds.
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                               14   II.      JURISDICTION AND VENUE
                               15            8.   This Court has subject matter jurisdiction over Plaintiffs’ claims pursuant to 28 U.S.C.
                               16   § 1332(d)(2). This is a class action in which there is a diversity of citizenship between at least one
                               17   Plaintiff Class member and one Defendant; the proposed Classes each exceed one hundred
                               18   members; and the matter in controversy exceeds the sum of $5,000,000.00, exclusive of interest and
                               19   costs.
                               20            9.   Venue is proper in this Court pursuant to 28 U.S.C. § 1391. Defendants regularly
                               21   conduct business in this District, and a substantial part of the events giving rise to the claims asserted
                               22   herein occurred in this District. Plaintiff Kisting-Leung is a citizen of California who resides in this
                               23   District.
                               24

                               25

                               26

                               27   4
                                     Claims Denials and Appeals in ACA Marketplace Plans in 2021, https://www.kff.org/private-
                                    insurance/issue-brief/claims-denials-and-appeals-in-aca-marketplace-plans/ (last accessed on July
                               28   20, 2023).
                                                                                    2
                                                                          CLASS ACTION COMPLAINT
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                                1   III.   THE PARTIES
                                2            10.      Plaintiff Suzanne Kisting-Leung is, and at all times relevant to this action has been, a
                                3    citizen of California, residing in Placer County. At all relevant times mentioned herein, Plaintiff
                                4    was covered by a health insurance policy provided by the Cigna Defendants.
                                5            11.      Plaintiff Ayesha Smiley is, and at all times relevant to this action has been, a citizen
                                6    of California, residing in San Diego County. At all relevant times mentioned herein, Plaintiff was
                                7    covered by a health insurance policy provided by the Cigna Defendants.
                                8            12.      Defendant Cigna Corporation is a Connecticut corporation headquartered at 900
                                9    Cottage Grove Road, Bloomfield, Connecticut 06002. Defendant Cigna Corporation conducts
                               10    insurance operations throughout California, representing to consumers that Cigna and its
                               11    subsidiaries are a global health service organization. Defendant Cigna Corporation has a license to
                               12    use the federally registered service mark “Cigna,” markets and issues health insurance and insures,
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                               13    issues, administers, and makes coverage and benefit determinations related to the health care
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                               14    policies nationally through its various wholly owned and controlled subsidiaries, controlled agents
                               15    and undisclosed principals and agents, including Defendant Cigna Health and Life Insurance
                               16    Company. Defendant Cigna Corporation is licensed and regulated by the California Department of
                               17    Insurance (“CDI”) and the California Department of Managed Health Care (“CDMHC”) to transact
                               18    the business of insurance in the State of California, is in fact, transacting the business of insurance
                               19    in the State of California, and is thereby subject to the laws and regulations of the State of California.
                               20            13.      Defendant Cigna Health and Life Insurance Company, incorporated in Connecticut,
                               21    is a wholly owned subsidiary of Defendant Cigna Corporation, with its principal place of business
                               22    at 900 Cottage Grove Road, Bloomfield, Connecticut 06002. Defendant Cigna Health and Life
                               23    Insurance Company markets and issues health insurance and insures, issues, administers, and
                               24    renders coverage and benefit determinations related to the health care policies. Defendant Cigna
                               25    Health and Life Insurance Company is licensed and regulated by the CDI and the CDMHC to
                               26    transact the business of insurance in the State of California, is in fact, transacting the business of
                               27    insurance in the State of California, and is thereby subject to the laws and regulations of the State
                               28    of California.
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                                                                            CLASS ACTION COMPLAINT
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                                1   IV.   FACTUAL ALLEGATIONS
                                2         A. Background
                                3          14.    The Cigna Defendants offered and sold health coverage to California consumers,
                                4   including Plaintiffs and Class members.
                                5          15.        Plaintiffs and Class members enrolled with the Cigna Defendants to receive health
                                6   insurance coverage. The Cigna Defendants provided Plaintiffs and Class members with written
                                7   terms explaining the plan coverage Cigna offered them. According to these terms, Cigna must
                                8   provide benefits for covered health services and pay all reasonable and medically necessary
                                9   expenses incurred by a covered member.
                               10          16.    From at least July 24, 2019, to the present, thousands of Cigna California insureds,
                               11   through healthcare providers, submitted bills to Cigna for reasonable and medically necessary
                               12   expenses covered by their plan terms.
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                               13          17.    To determine whether a submitted claim is medically necessary, the Cigna Defendants
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                               14   are required to conduct and diligently pursue a “thorough, fair, and objective” investigation into
                               15   each bill for medical expenses submitted, per California Insurance Regulations, Cal. Code Regs. tit.
                               16   10, § 2695.7 (d). This means Cigna’s medical directors must examine patient records, review
                               17   coverage policies, and use their expertise to decide whether to approve or deny claims to avoid
                               18   unfair denials.
                               19          18.    The Cigna Defendants have deliberately failed to fulfill their statutory obligation to
                               20   review individual claims in a “thorough,” “fair,” and “objective” manner, instead denying the claims
                               21   for medical expenses of its California insureds without conducting any investigation, let alone a
                               22   thorough, fair, or objective investigation.
                               23          19.    The Cigna Defendants utilize the PXDX system, which employs an algorithm to
                               24   identify discrepancies between diagnoses and what the Cigna Defendants consider acceptable tests
                               25   and procedures for those ailments and automatically deny claims on those bases. After the PXDX
                               26   system denies claims, Cigna doctors then sign off on the denials in batches without opening each
                               27   patient’s files to conduct a more detailed review of, for example, the treatment/procedure at issue
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                                1   and related injuries, the patient’s prior medical or surgical history, the chronology of medical events,
                                2   or any ambiguities and complications.
                                3             20.   In violation of California law, the Cigna Defendants wrongfully delegated their
                                4   obligation to evaluate and investigate claims to the PXDX system, including determining whether
                                5   medical expenses are reasonable and medically necessary.
                                6             21.   In violation of Cal. Code Regs. tit. 10, § 2695.7 (b)(1), the Cigna Defendants failed to
                                7   inform their insureds in writing of the decision to deny their claims and failed to provide statements
                                8   listing all bases for such denial, including factual and legal bases for each reason given for such
                                9   denial.
                               10             22.   The Cigna Defendants fraudulently misled California insureds into believing that their
                               11   health plan would individually assess their claims and pay for medically necessary procedures.
                               12             23.   Had Plaintiffs and Class members known that the Cigna Defendants would evade the
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                               13   legally required process for reviewing patient claims and delegate that process to its PXDX
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                               14   algorithm to review and deny claims, they would not have enrolled with Cigna.
                               15             24.   The Cigna Defendants knowingly committed unfair and deceptive acts or practices
                               16   with a frequency indicating a general practice in violation of California Insurance Code, § 790.03.
                               17             25.   The Cigna Defendants’ review system of California insureds’ claims undermines the
                               18   principles of fairness and meaningful claim evaluation, which insureds expect from their insurers.
                               19         B. Plaintiff Suzanne Kisting-Leung
                               20             26.   Plaintiff Suzanne Kisting-Leung has been enrolled with Cigna since 2018.
                               21             27.   On August 19, 2022, Ms. Kisting-Leung underwent a transvaginal ultrasound after
                               22   being referred by her doctor due to a suspected risk of ovarian cancer. The ultrasound results
                               23   revealed that Ms. Kisting-Leung had a dermoid cyst on her left ovary.
                               24             28.   On or around October 17, 2022, Ms. Kisting-Leung received a letter from radiology
                               25   informing her that Cigna denied her claim for the ultrasound procedure, stating that the procedure
                               26   was not medically necessary. As a result, Ms. Kisting-Leung was left responsible for the $198 bill.
                               27

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                                1           29.   According to Cigna’s Medical Coverage Policy, a transvaginal ultrasound is
                                2   considered “medically necessary for the evaluation of suspected pelvic pathology or for screening
                                3   or surveillance of a woman at increased risk for ovarian or endometrial cancer.” 5
                                4           30.   Ms. Kisting-Leung vigorously appealed Cigna’s decision to deny coverage. To date,
                                5   Cigna has not paid Ms. Kisting-Leung’s claim.
                                6           31.   On November 30, 2022, Ms. Kisting-Leung was referred to and underwent another
                                7   transvaginal ultrasound. Ms. Kisting-Leung’s procedure was medically necessary as was confirmed
                                8   by her referring doctor.
                                9           32.   Around December 2022, Ms. Kisting-Leung was informed by her medical provider
                               10   that Cigna again denied coverage for her claim, stating that the procedure was not medically
                               11   necessary.
                               12           33.   On May 18, 2023, Ms. Kisting-Leung received a $525 bill from her medical provider
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                               13   for the second ultrasound.
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                               14           34.   Ms. Kisting-Leung immediately appealed Cigna’s decision to deny her claim. To date,
                               15   Cigna has not paid for Ms. Kisting-Leung’s second claim.
                               16           35.   Upon information and belief, the Cigna Defendants used the PXDX system to
                               17   “review” and deny Ms. Kisting-Leung’s claims.
                               18           36.   Upon information and belief, the Cigna Defendants failed to have their doctors
                               19   conduct a thorough, fair, and objective investigation into each of Ms. Kisting-Leung’s claims and
                               20   instead denied them based on the automated PXDX process.
                               21          C. Plaintiff Ayesha Smiley
                               22           37.   Plaintiff Ayesha Smiley has been enrolled with Cigna since 2020.
                               23           38.   On or around January 2023, Ms. Smiley’s doctor determined that it was medically
                               24   necessary to check her Vitamin D levels to confirm she had no Vitamin D deficiency. Accordingly,
                               25   Ms. Smiley’s doctor ordered such a test, which was administered the same month.
                               26

                               27   5
                                     Cigna Medical Coverage Policy, Transvaginal Ultrasound, Non-Obstetrical,
                                    https://static.cigna.com/assets/chcp/pdf/coveragePolicies/medical/mm_0398_coveragepositioncrit
                               28   eria_transvaginal_ultrasound.pdf (last accessed on July 24, 2023).
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                                1          39.    On or around January “2023, Cigna verbally informed Ms. Smiley that Cigna denied
                                2   her claim and she was required to pay for the testing out-of-pocket.
                                3          40.    Ms. Smiley did not receive any written correspondence from Cigna explaining the
                                4   reasons for the denial, as required by Cal. Code Regs. tit. 10, § 2695.7 (b)(1).
                                5          41.    Upon information and belief, the Cigna Defendants used the PXDX system to
                                6   “review” and deny Ms. Smiley’s claims.
                                7          42.    Upon information and belief, the Cigna Defendants failed to have their doctors
                                8   diligently pursue a thorough, fair, and objective investigation into Ms. Smiley’s claim.
                                9   V.    CLASS ALLEGATIONS
                               10          43.    Plaintiffs bring this action on their own behalf and on behalf of all other persons
                               11   similarly situated pursuant to Rule 23 of the Federal Rules of Civil Procedure. The Class which
                               12   Plaintiffs seeks to represent comprises:
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                                                   All persons who had purchased health insurance from Cigna in the State of
                               13
                                                   California during the period of four years prior to the filing of the complaint
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                               14                  through the present.
                                          The class definition may be further defined or amended by additional pleadings, evidentiary
                               15
                                    hearings, a class certification hearing, and orders of this Court.
                               16
                                           44.    The Class is so numerous that their individual joinder herein is impracticable. On
                               17
                                    information and belief, members of the Class number in the hundreds of thousands or millions
                               18
                                    throughout California. The precise number of Class members and their identities are unknown to
                               19
                                    Plaintiffs at this time but may be determined through discovery. Class members may be notified of
                               20
                                    the pendency of this action by mail and/or publication through the distribution records of Defendants
                               21
                                    and third-party retailers and vendors.
                               22
                                           45.    Common questions of fact and law predominate over questions that may affect
                               23
                                    individual class members, including the following:
                               24
                                                    a.    Whether the Cigna Defendants’ delegation of patient claims review to the
                               25
                                                    PXDX algorithm resulted in its failure to diligently conduct a thorough, fair, and
                               26
                                                    objective investigation into determinations of claims for medical expenses
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                                1                   submitted by insureds and/or healthcare providers in violation of Cal. Code Regs.
                                2                   tit. 10, § 2695.7 (d)?
                                3                   b.    Whether the Cigna Defendants automatically denied payment for claims
                                4                   submitted by insureds and/or healthcare providers without having a medical director
                                5                   examine patient records, review coverage policies and use their expertise to decide
                                6                   whether to approve or deny claims?
                                7                   c.    Whether the Cigna Defendants’ denials of claims are based on its use of the
                                8                   PXDX system, which employs an algorithm to identify discrepancies between
                                9                   diagnoses and what the Cigna Defendants consider acceptable tests and procedures
                               10                   for those ailments and automatically deny claims on those bases?
                               11                   d.    Whether the Cigna Defendants failed to adopt and implement reasonable
                               12                   standards for the prompt investigation and processing of claims arising under
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                               13                   insurance policies?
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                               14                   e.    Whether the Cigna Defendants have a practice of relying on the PXDX system
                               15                   to review and deny certain claims instead of having medical directors use their
                               16                   expertise to decide whether to approve or deny those claims?
                               17          46.    Plaintiffs’ claims are typical of the claims of the Class and arise from the same
                               18   common practice and scheme used by the Cigna Defendants to deny the claims of the members of
                               19   the Class. In each instance, the Cigna Defendants used the PXDX system to review, process, and
                               20   deny insured claims without the medical director’s review. Plaintiffs will fairly and adequately
                               21   represent and protect the interests of the Class. Plaintiffs have retained competent and experienced
                               22   counsel in class action and other complex litigation.
                               23          47.    Plaintiffs and the Class members have suffered injury, in fact, and have lost money as
                               24   a result of Defendants’ misconduct. Plaintiffs and the Class had their claims automatically rejected
                               25   by Cigna using the PXDX system without individualized evaluation of their medical records by
                               26   Cigna’s medical directors.
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                                1           48.    A class action is superior to other available methods for fair and efficient adjudication
                                2   of this controversy. The expense and burden of individual litigation would make it impracticable or
                                3   impossible for the Class to prosecute their claims individually.
                                4           49.    The trial and litigation of Plaintiffs’ claims are manageable. Individual litigation of
                                5   the legal and factual issues raised by Defendants’ conduct would increase delay and expense to all
                                6   parties and the court system. The class action device presents far fewer management difficulties and
                                7   provides the benefits of a single, uniform adjudication, economics of scale, and comprehensive
                                8   supervision by a single court.
                                9           50.    Defendants have acted on grounds generally applicable to the entire Class, thereby
                               10   making final injunctive relief and/or corresponding declaratory relief appropriate with respect to the
                               11   Class as a whole. The prosecution of separate actions by individual Class members would create the
                               12   risk of inconsistent or varying adjudications with respect to individual Class members that would
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                               13   establish incompatible standards of conduct for Defendants.
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                               14           51.    Absent a class action, Defendants will likely retain the benefits of their wrongdoing.
                               15   Because of the small size of the individual Class members’ claims, few, if any, Class members could
                               16   afford to seek legal redress for the wrongs complained of herein. Absent a representative action, the
                               17   Class will continue to suffer losses and Defendants will be allowed to continue these violations of
                               18   law and to retain the proceeds of its ill-gotten gains.
                               19
                                                                     FIRST CAUSE OF ACTION
                               20
                                                    Breach of the Implied Covenant of Good Faith and Fair Dealing
                               21                                       Against all Defendants
                                                                 (On Behalf of Plaintiffs and the Class)
                               22
                                            52.    Plaintiffs reallege and incorporate by reference all preceding allegations as though
                               23
                                    fully set forth herein.
                               24
                                            53.    Plaintiffs and Class members entered into written contracts with the Cigna Defendants
                               25
                                    and Does 1 through 50, inclusive, which provided for coverage for medical services administered
                               26
                                    by healthcare providers.
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                                1          54.      Pursuant to the contracts, in exchange for insureds’ premium payments, the Cigna
                                2   Defendants and Does 1 through 50, inclusive, implied and covenanted that they would act in good
                                3   faith and follow the law and the contracts with respect to the prompt and fair payment of Plaintiffs’
                                4   and Class members’ claims.
                                5          55.      The Cigna Defendants and Does 1 through 50, inclusive, have breached their duty of
                                6   good faith and fair dealing by, among other things:
                                7                a. Improperly delegating their claims review function to the PXDX system, which uses
                                8                   an automated process to improperly deny claims;
                                9                b. Allowing their medical directors to sign off on the denials in batches without
                               10                   reviewing each patient’s file;
                               11                c. Failing to have its medical directors conduct a thorough, fair, and objective
                               12                   investigation of each submitted claim, such as examining patient records, reviewing
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                               13                   coverage policies, and using their expertise to decide whether to approve or deny
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                               14                   claims to avoid unfair denials.
                               15          56.      Defendants’ practices as described herein violated their duties to Plaintiffs and Class
                               16   members under the insurance contracts and California law.
                               17          57.      Defendants’ practices as described herein constitute an unreasonable denial of
                               18   Plaintiffs’ and Class members’ rights to a thorough, fair, and objective investigation of each of their
                               19   claims by a doctor and breaches the implied covenant of good faith and fair dealing arising from the
                               20   Cigna Defendants and Does 1 through 50, inclusive, insurance contracts.
                               21          58.      Defendants’ practices as described herein further constitute an unreasonable denial to
                               22   pay benefits due to Plaintiffs and Class members in breach of the implied covenant of good faith
                               23   and fair dealing arising from the Cigna Defendants and Does 1 through 50, inclusive, insurance
                               24   contracts.
                               25          59.      The Cigna Defendants and Does 1 through 50, inclusive, wrongful denial of Plaintiffs’
                               26   and Class members’ right to a thorough, fair, and objection investigation and wrongful denial of
                               27   claims damaged Plaintiff and Class members.
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                                1           60.     As a direct and proximate result of Defendants’ breaches, Plaintiffs and Class
                                2   members have suffered and will continue to suffer in the future economic losses, including the
                                3   benefits owned under the health insurance plans in the millions, the interruption in Plaintiffs’ and
                                4   Class members’ businesses, and other general, incidental, and consequential damages, in amounts
                                5   according to proof at trial. Plaintiffs and Class members are also entitled to recover statutory and
                                6   pre-judgment interest against Defendants and each of them.
                                7           61.    Defendants’ misconduct was committed intentionally, in a malicious, fraudulent,
                                8   despicable, and oppressive manner, entitling Plaintiff and Class members to punitive damages
                                9   against Defendants.
                               10           62.    By reason of the conduct of Defendants as alleged herein, Plaintiffs have necessarily
                               11   retained attorneys to prosecute the present action. Plaintiffs are therefore entitled to reasonable
                               12   attorney’s fees and litigation expenses, including expert witness fees and costs, incurred in bringing
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                               13   this action.
     Malibu, CA 90265




                                                                       SECOND CAUSE OF ACTION
                               14
                                                               Violation of California Unfair Competition Law,
                               15                             Business & Professions Code Section 17200, et. seq.
                                                                            Against all Defendants
                               16                                 (On Behalf of All Plaintiffs and the Class)

                               17           63.    Plaintiffs reallege and incorporate by reference all preceding allegations as though

                               18   fully set forth herein.

                               19           64.    Plaintiffs bring this cause of action pursuant to Business and Professions Code Section

                               20   17500, et seq., on their own behalf and on behalf of all other persons similarly situated.

                               21           65.    California’s Unfair Competition Law (“UCL”) prohibits “any unlawful, unfair... or

                               22   fraudulent business act or practice.” Cal. Bus & Prof. Code section 17200, et. seq.

                               23           66.    Under the California Insurance Code, § 790.03(h), the following are classified as

                               24   unfair methods of competition and unfair and deceptive acts or practices in the business of insurance

                               25   when they are knowingly committed or performed with such frequency as to indicate a general

                               26   practice:

                               27               a. “Failing to adopt and implement reasonable standards for the prompt investigation

                               28                  and processing of claims arising under insurance policies.”

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                                1             b. “Not attempting in good faith to effectuate prompt, fair, and equitable settlements of
                                2                 claims in which liability has become reasonably clear.”
                                3             c. “Failing to provide promptly a reasonable explanation of the basis relied on in the
                                4                 insurance policy, in relation to the facts or applicable law, for the denial of a claim or
                                5                 for the offer of a compromise settlement.”
                                6          67.    Under Cal. Code Regs. tit. 10, § 2695.7 (b)(1) when “an insurer denies or rejects a
                                7   first party claim, in whole or in part, it shall do so in writing and shall provide to the claimant a
                                8   statement listing all bases for such rejection or denial and the factual and legal bases for each reason
                                9   given for such rejection or denial which is then within the insurer’s knowledge. Where an insurer’s
                               10   denial of a first party claim, in whole or in part, is based on a specific statute, applicable law or
                               11   policy provision, condition or exclusion, the written denial shall include reference thereto and
                               12   provide an explanation of the application of the statute, applicable law or provision, condition or
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                               13   exclusion to the claim. Every insurer that denies or rejects a third-party claim, in whole or in part,
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                               14   or disputes liability or damages shall do so in writing.”
                               15          68.    Under Cal. Code Regs. tit. 10, § 2695.7 (d), insurers must “diligently pursue a
                               16   thorough, fair and objective investigation and shall not persist in seeking information not reasonably
                               17   required for or material to the resolution of a claim dispute.”
                               18          69.    Under Cal. Code Regs. tit. 10, § 2695.7 (e), in relevant parts, provides that “[n]o
                               19   insurer shall delay or deny settlement of a first party claim on the basis that responsibility for
                               20   payment should be assumed by others.”
                               21          70.    Unlawful Prong: Defendants’ conduct violates the unlawful prong of § 17200
                               22   because they violate California’s express statutory and regulatory requirements regarding insurance
                               23   claims handling pursuant to California Insurance Code § 790.03(h), Cal. Code Regs. tit. 10, §
                               24   2695.7, and Cal. Health & Saf. Code §1367.01.
                               25          71.    Defendants violated the unlawful prong of § 17200 when they did not attempt in good
                               26   faith to effectuate prompt, fair, and equitable settlements of claims for Plaintiffs and Class members
                               27   as required by California Insurance Code § 790.03(h).
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                                1          72.      Defendants violated the unlawful prong of § 17200 when they failed to implement
                                2   reasonable standards for the thorough, fair, and objective investigation and processing of claims
                                3   arising under their policies for Plaintiffs and Class members as required by Cal. Code Regs. tit. 10,
                                4   § 2695.7 (d).
                                5          73.      Defendants violated the unlawful prong of § 17200 when they failed to notify
                                6   Plaintiffs and Class members in writing about their rejection or denial of claims and include a
                                7   statement listing all bases for such rejection or denial and the factual and legal bases for each reason
                                8   given for such rejection or denial as required by Cal. Code Regs. tit. 10, § 2695.7 (b)(1).
                                9          74.      Defendants violated the unlawful prong of § 17200 when they allowed the PXDX
                               10   system to review and deny Plaintiffs’ and Class members’ claims instead of having a licensed
                               11   physician who is competent to evaluate the specific clinical issues involved in the health care
                               12   services requested by the provider to deny or modify requests for authorization of health care
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                               13   services for an enrollee for reasons of medical necessity as required by Cal. Health & Saf. Code
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                               14   §1367.01(e).
                               15          75.      Defendants violated the unlawful prong of § 17200 when they failed to communicate
                               16   to Plaintiffs and Class members in writing their decision to deny Plaintiffs’ and Class members’
                               17   claims and provide a clear and concise explanation of the reasons for the plan’s decision, a
                               18   description of the criteria or guidelines used, and the clinical reasons for the decisions regarding
                               19   medical necessity, including the information as to how Plaintiffs and Class members may file a
                               20   grievance with the plan, as required by Cal. Health & Saf. Code §1367.01(h)(4).
                               21          76.      Unfair Prong: Defendants’ actions violated the unfair prong of § 17200 because the
                               22   acts and practices set forth above, including Defendants’ use of the PXDX system to process and
                               23   deny claims, rejection of claims in batches without a thorough, fair, and objective investigation
                               24   offend established public policy and cause harm to consumers that greatly outweighs any benefit
                               25   associated with those practices. Defendants’ actions also violate the unfair prong because they
                               26   constitute a systematic breach of consumer contracts.
                               27          77.      Fraudulent Prong: Defendants have violated the fraudulent business practices prong
                               28   of § 17200 because their misrepresentations and omission regarding the Cigna insurance policies
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                                1   and Plaintiffs’ rights under the policy, including the denial of claims on sham pretenses, were likely
                                2   to deceive a reasonable consumer, and this information would be material to a reasonable consumer.
                                3            78.   Defendants fraudulently misled Plaintiffs and Class members into believing that their
                                4   health plans would ensure thorough, fair, and objective investigations by medical professionals into
                                5   each submitted claim and provide coverage for reasonable and medically necessary procedures.
                                6            79.   Plaintiffs and Class members would not have enrolled with Defendants had they
                                7   known Defendants failed to diligently pursue a thorough, fair, and objective investigation into each
                                8   submitted claim.
                                9            80.   As a direct and proximate result of Defendants’ violation of § 17200, Plaintiffs and
                               10   Class members have been injured in fact and suffered lost money in that Defendants failed to provide
                               11   benefits owed to their insureds under the insurance policies Defendants issued.
                               12            81.   To date, Defendants continue to violate the Unfair Competition law by breaching their
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                               13   insurance contracts.
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                               14            82.   To date, Plaintiffs and Class members are still insured by Defendants.
                               15            83.   Pursuant to Business and Professions Code § 17203, Plaintiffs and Class members
                               16   seek an order of this Court enjoining Defendants from denying benefits owed to Cigna insureds
                               17   through its scheme involving the PXDX processing system. Without such an order, there is a
                               18   continuing threat to Plaintiffs and Class members, as well as to members of the general public, that
                               19   Defendants will continue to systematically deny and reduce benefits to California consumers
                               20   through its use of the PXDX system.
                               21            84.   Pursuant to Business and Professions Code § 17203, Plaintiffs and Class members
                               22   seek an order of this Court awarding Plaintiffs and Class members restitution of the money
                               23   wrongfully acquired by Defendants by means of responsibility attached to Defendants’ failure to
                               24   disclose the existence and significance of said misrepresentations in an amount to be determined at
                               25   trial.
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                                                                         THIRD CAUSE OF ACTION
                                1
                                                              Intentional Interference with Contractual Relations
                                2                                            Against all Defendants
                                                                     (On Behalf of Plaintiffs and the Class)
                                3
                                            85.    Plaintiffs reallege and incorporate by reference all preceding allegations as though
                                4
                                    fully set forth herein.
                                5
                                            86.    Plaintiffs and Class members entered into written contracts with Defendants, whereby
                                6
                                    Defendants were required to pay for Plaintiffs’ and Class members’ medically necessary services
                                7
                                    rendered by healthcare providers.
                                8
                                            87.    Defendants were aware that they are bound by contracts under which the Cigna
                                9
                                    Defendants and Does 1 through 50, inclusive were required to authorize payments for medically
                               10
                                    necessary services rendered by healthcare providers to Plaintiffs and Class members.
                               11
                                            88.    Defendants knew and understood that Plaintiffs and Class members, by enrolling with
                               12
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                                    Cigna, had entered into such contracts or had reasonable economic expectations.
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                                            89.    Defendants intended to disrupt and interfere with the performance of Plaintiffs’ and
                               14
                                    Class members’ contracts by denying payments for medically necessary services without any basis.
                               15
                                            90.    Defendants knew that disruption and interference with the performance of Plaintiffs’
                               16
                                    and Class members’ contracts were certain or substantially certain to occur when Defendants denied
                               17
                                    payments for medically necessary services without any basis.
                               18
                                            91.    Defendants’ interference with Plaintiffs’ and Class members’ contracts was improper
                               19
                                    and based on false and misleading representations designed to enhance Cigna’s profits through
                               20
                                    automated batch denial of claims.
                               21
                                            92.    Defendants’ business practices and conduct described herein were intended by
                               22
                                    Defendants to cause injury to Plaintiffs and Class members, or the conduct was despicable conduct
                               23
                                    carried on by Defendants with a willful and conscious disregard of the rights of Plaintiffs and Class
                               24
                                    members, subjecting Plaintiffs and Class members to cruel and unjust hardship in conscious
                               25
                                    disregard of their rights.
                               26
                                            93.    Defendants’ business practices and conduct did in fact cause injury to Plaintiffs and
                               27
                                    Class members.
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                                1           94.    Defendants’ business practices and conduct were a substantial factor in causing
                                2   Plaintiffs’ and Class members’ harm.
                                3           95.    Defendants’ misrepresentations, deceit, or concealment of material facts known to
                                4   Defendants were done with the intent to deprive Plaintiffs and Class members of property, legal
                                5   rights, or to otherwise cause injury, such as to constitute malice, oppression, or fraud under
                                6   California Civil Code § 3294, thereby entitling Plaintiffs and Class members to punitive damages.
                                7                                   FOURTH CAUSE OF ACTION
                                                                         Unjust Enrichment
                                8
                                                                        Against All Defendants
                                9                                 (On Behalf of Plaintiff and the Class)
                                            96.    Plaintiffs reallege and incorporate by reference all preceding allegations as though
                               10
                                    fully set forth herein.
                               11
                                            97.    By delegating the claims review process to the automated PXDX system, Defendants
                               12
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                                    knowingly charged Plaintiffs and Class members insurance premiums for services that the Cigna
                               13
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                                    Defendants failed to deliver; this was done in a manner that was unfair, unconscionable, and
                               14
                                    oppressive.
                               15
                                            98.    Defendants knowingly received and retained wrongful benefits and funds from
                               16
                                    Plaintiffs and Class members. In so doing, Defendants acted with conscious disregard for the rights
                               17
                                    of Plaintiffs and Class members.
                               18
                                            99.    As a result of Defendants’ wrongful conduct as alleged herein, Defendants have been
                               19
                                    unjustly enriched at the expense of, and to the detriment of, Plaintiffs and Class members.
                               20
                                            100. Defendants’ unjust enrichment is traceable to and resulted directly and proximately
                               21
                                    from the conduct alleged herein.
                               22
                                            101. Under the common law doctrine of unjust enrichment, it is inequitable for Defendants
                               23
                                    to be permitted to retain the benefits they received, without justification, from arbitrarily denying
                               24
                                    its insureds medical payments owed to them under Cigna’s policies in an unfair, unconscionable,
                               25
                                    and oppressive manner. Defendants’ retention of such funds under such circumstances making it
                               26
                                    inequitable to retain the funds, constitutes unjust enrichment.
                               27

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                                1          102. The financial benefits derived by Defendants rightfully belong to Plaintiffs and Class
                                2   members. Defendants should be compelled to return in a common fund for the benefit of Plaintiffs
                                3   and Class members all wrongful or inequitable proceeds received by Defendants.
                                4          103. Plaintiffs and members of the Class have no adequate remedy at law.
                                5                                         PRAYER FOR RELIEF
                                6          WHEREFORE, Plaintiffs, individually and on behalf of all others similarly situated, request
                                7   that this Court enter an order granting the following relief against Defendants:
                                8         a.      Awarding actual damages, statutory damages, exemplary/punitive damages, costs and
                                9                 attorneys’ fees;
                               10         b.      Awarding disgorgement and/or restitution;
                               11         c.      Awarding pre-judgment interest to the extent permitted by law;
                               12         d.      Appropriate declaratory and injunctive relief enjoining Cigna from continuing its
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                               13                 improper and unlawful claim handling practices as set forth herein’
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                               14         e.      Such other and further relief as the Court may deem just and proper.
                               15                                      JURY TRIAL DEMANDED
                               16          Plaintiffs demand a jury trial on all triable issues.
                               17

                               18   DATED: July 24, 2023                                   CLARKSON LAW FIRM, P.C.
                               19
                                                                                           By: /s/ Glenn A. Danas
                               20                                                              Glenn A. Danas, Esq.
                                                                                               Shireen Clarkson, Esq.
                               21                                                              Zarrina Ozari, Esq.

                               22                                                              Attorneys for Plaintiffs
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